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    8                            UNITED STATES DISTRICT COURT
    9                           CENTRAL DISTRICT OF CALIFORNIA
   10   ANDREA RIDGELL, on behalf of) Case No.: 2:18-CV-04916 PA (AFMx)
        herself and others similarly situated, )
   11                                          ) [PROPOSED] JUDGMENT GRANTING
        Plaintiff,                             ) FRONTIER AIRLINES INC.'S
   12                                          ) MOTION FOR SUMMARY
        v.                                     ) JUDGMENT
   13                                          )
        FRONTIER AIRLINES, INC. a) Date: June 17, 2019
   14   Colorado corporation; AIRBUS S.A.S.,) Time: 1:30 p.m.
        a foreign corporation doing business in) Place: Courtroom of the Honorable Percy
   15   the State of California; AIRBUS)                Anderson
        GROUP HQ, INC., a corporation doing)
   16   business in the State of California,   )
                                               )
   17                Defendants.               )
                                               )
   18
   19             Defendant Frontier Airlines, Inc.'s ("Frontier") motion for summary judgment
   20   came on regularly for hearing on June 17, 2019, at 1:30 p.m., in the United States
   21   District Court, Central District of California, the Honorable Percy Anderson presiding.
   22             After consideration of the papers submitted by the parties, arguments of counsel
   23   and all other papers on file in this action, the Court finds that:
   24             WHEREAS, federal control over aviation and aviation safety is "intensive and
   25   exclusive," Frontier cannot be held liable for operating an aircraft that the US Federal
   26   Aviation Administration ("FAA") has certified as airworthy, or for not warning about
   27   a condition which the FAA has not deemed to be unsafe;
   28             WHEREAS, the pervasive regulations test, the nature of the subject matter test
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            [PROPOSED] JUDGMENT GRANTING FRONTIER AIRLINES INC.'S MOTION FOR
                                 SUMMARY JUDGMENT
                                           Case 2:18-cv-04916-PA-AFM Document 56-6 Filed 05/20/19 Page 2 of 4 Page ID #:663




                                                       1   and the Airline Deregulation Act all preclude the use of state law, federal standards
                                                       2   exclusively govern liability in this matter; and
                                                       3             WHEREAS, plaintiff's causes of action against Frontier fail as a matter of law
                                                       4   because: Frontier operated and maintained the subject aircraft in accordance with
                                                       5   FAA regulations; the inspection of the subject aircraft following the odor incident
                                                       6   described in plaintiff's complaint did not reveal any defects or issues with the aircraft;
                                                       7   the subject aircraft was tracked for 30 days following the incident and no odor events
                                                       8   were noted; plaintiff has not disclosed any expert witnesses with respect to her alleged
                                                       9   injury, causation, or any relevant standards of care; the gate agents handling diverted
                                                      10   flight no. 1630 in Phoenix did not confine or intend to confine plaintiff; and plaintiff
                                                      11   consented to remain in the terminal area to hear announcements regarding her flight.
                    355 S. Grand Avenue, 14th Floor
                     Los Angeles, California 90071




                                                      12
CLYDE & CO US LLP




                                                                     IT IS HEREBY ORDERED AND ADJUDGED THAT:
                      Telephone: (213) 358-7600




                                                      13             Pursuant to Federal Rule of Civil Procedure 56, Frontier's motion for summary
                                                      14   judgment is granted and judgment is hereby entered in favor of Frontier and against
                                                      15   plaintiff.
                                                      16             IT IS SO ORDERED.
                                                      17
                                                      18   DATED: _______________, 2019                    _____________________________
                                                      19                                                   HONORABLE PERCY ANDERSON
                                                                                                           UNITED STATES DISTRICT COURT
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                                                               [PROPOSED] JUDGMENT GRANTING FRONTIER AIRLINES INC.'S MOTION FOR
                                                                                    SUMMARY JUDGMENT
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                                                       1
                                                                                             PROOF OF SERVICE
                                                       2
                                                                                           STATE OF CALIFORNIA
                                                       3                                  COUNTY OF LOS ANGELES
                                                       4        I am employed in the County of Los Angeles, State of California, I am over the
                                                         age of eighteen years, and not a party to the within action. My business address is 633
                                                       5 West 5th Street, 26th Floor, Los Angeles, California 90071.

                                                       6             On May 20, 2019, I served the document(s) described as:
                                                       7             [PROPOSED] JUDGMENT GRANTING FRONTIER AIRLINES INC.'S
                                                                                 MOTION FOR SUMMARY JUDGMENT
                                                       8
                                                                     on the parties in this action addressed as follows:
                                                       9
                                                                                        SEE ATTACHED SERVICE LIST
                                                      10
                                                           in the following manner:
                                                      11
                                                                    (BY FAX): by transmitting via facsimile the document(s) listed above to the
                                                      12             fax number(s) set forth below, or as stated on the attached service list, on this
                    355 S. Grand Avenue, 14th Floor
                     Los Angeles, California 90071




                                                                     date before 5:00 p.m.
                      Telephone: (213) 358-7600
CLYDE & CO US LLP




                                                      13   
                                                                     (BY MAIL): as follows: I am “readily familiar” with the firm’s practice of
                                                      14             collection and processing correspondence for mailing. Under that practice it
                                                                     would be deposited with the U.S. Postal Service on that same day with postage
                                                      15             thereon fully prepaid at Los Angeles, California in the ordinary course of
                                                                     business. I am aware that on motion of the party served, service is presumed
                                                      16             invalid if postal cancellation date or postage meter date is more than one day
                                                                     after the date of deposit for mailing in affidavit.
                                                      17            (BY OVERNIGHT DELIVERY): I caused such envelope(s) to be delivered
                                                                     to an overnight delivery carrier with delivery fees provided for, addressed to
                                                      18             the person(s) on whom it is to be served.
                                                                    (BY PERSONAL SERVICE): I caused such envelope(s) to be delivered by
                                                      19             hand this date to the offices of the addressee(s).
                                                                    (BY CM/ECF): by electronic filing system with the clerk of the Court which
                                                      20             will send a Notice of Electronic Filing to all parties with an e-mail address of
                                                                     record, who have filed a Notice of Consent to Electronic Service in this action:
                                                      21
                                                                I declare I am employed in the office of a member of the bar of this court at
                                                      22   whose direction the service was made.
                                                      23             Executed on May 20, 2019, at Los Angeles, California.
                                                      24
                                                                                                             _______________________________
                                                      25                                                     Sonja L. Gray
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                                                                [PROPOSED] JUDGMENT GRANTING FRONTIER AIRLINES INC.'S MOTION FOR
                                                                                     SUMMARY JUDGMENT
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                                                                [PROPOSED] JUDGMENT GRANTING FRONTIER AIRLINES INC.'S MOTION FOR
                                                                                     SUMMARY JUDGMENT
